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Lin-Hendel et.al. v Saudi Aramco et. al.

 

gee 1200 Exhibit 6

6A: Saudi Aramco In-house developed technologies: the most prized and first

6B:

6C:

6D:

6E:

6F:

listed is protected by seven patent applications—see page 2. (10 pages)

Brows-able Dropdown Informational Categorical Menu(s) for 5 top level
categories in www.SaudiAramco.com : Who we are; Creating value;
Making a difference; Partnering with us; Investors; {PO. The drawn line

 

shape around certain sections of the menus indicate subjects relevant to the
noble corporate governance, ethics, visons and emphasis on technological
development and innovation as fuel for world and community economic
future. (7 pages)

Brows-able Dropdown Informational Categorical Menu(s) for 5 top level
categories in https://Americas.Aramco.com: Who we are; Creating value;
Making a difference; Partnering with us. (6 pages)

SA/Corporate Governance: Ethics and governance, Living our values. (5 pages)

SA/Creating value: Investing in Startups, Collaborating with us, Technology
Development. (11 pages)

SA/Making a difference/People and community: Accelerating human
potential, Supporting Communities. (13 pages)

Exhibit cover page for Lin-Hendel et. al. v. Saudi Aramco et. al.
